                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

       v.                                               Case No. 06-CR-336

USMAN TARIQ
                     Defendant.


                               SENTENCING MEMORANDUM

       Defendant Usman Tariq pleaded guilty to conspiring to distribute 500 grams or more of

cocaine, contrary to 21 U.S.C. §§ 841(a)(1), (b)(1)(B) & 846, and I set the case for sentencing.

In imposing sentence, I first calculate the advisory sentencing guideline range, then determine

the actual sentence by applying the criteria set forth in 18 U.S.C. § 3553(a) to the facts and

circumstances of the case. See, e.g., United States v. Bush, 523 F.3d 727, 729 (7th Cir. 2008).

                                       I. GUIDELINES

       The parties agreed to a base offense level of 26 under U.S.S.G. § 2D1.1(c)(7), based

on a drug weight of 500 grams to 2 kilograms of cocaine, with a 3 level reduction for

acceptance of responsibility under § 3E1.1, for a final offense level of 23. Coupled with

defendant’s criminal history category of VI, level 23 produces a range of 92-115 months

imprisonment. I found these calculations correct and adopted them accordingly.

                                       II. SENTENCE

A.     Section 3553(a) Factors

       In the imposing the actual sentence, the court considers:

       (1)    the nature and circumstances of the offense and the history and



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              characteristics of the defendant;

       (2)    the need for the sentence imposed–

              (A) to reflect the seriousness of the offense, to promote respect for the law,
              and to provide just punishment for the offense;

              (B) to afford adequate deterrence to criminal conduct;

              (C) to protect the public from further crimes of the defendant; and

              (D) to provide the defendant with needed educational or vocational training,
              medical care, or other correctional treatment in the most effective manner;

       (3)    the kinds of sentences available;

       (4)    the advisory guideline range;

       (5)    any pertinent policy statements issued by the Sentencing Commission;

       (6)    the need to avoid unwarranted sentence disparities; and

       (7)    the need to provide restitution to any victims of the offense.

18 U.S.C. § 3553(a).

       After considering these factors, the court must impose a sentence that is “sufficient but

not greater than necessary” to satisfy the purposes of sentencing set forth in § 3553(a)(2). The

court must give respectful consideration to the guidelines in determining a sufficient sentence,

Gall v. United States, 128 S. Ct. 586, 594 (2007), but it may not presume that the guideline

sentence is the correct one, Rita v. United States, 127 S. Ct. 2456, 2465 (2007). Rather, after

accurately calculating the advisory range so that it “can derive whatever insight the guidelines

have to offer,” the court must sentence “based on 18 U.S.C. § 3553(a) without any thumb on

the scale favoring a guideline sentence.” United States v. Sachsenmaier, 491 F.3d 680, 685

(7th Cir. 2007). Despite the advisory nature of the guidelines, however, the court may not apply

§ 3553(a) to reduce a mandatory minimum sentence required by statute. See, e.g., United

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States v. Duncan, 479 F.3d 924, 930 (7th Cir.), cert. denied, 128 S. Ct. 189 (2007). In the

present case, the statute of conviction required a sentence of at least 60 months.

B.     Analysis

       1.     The Offense

       Defendant’s prosecution arose out of the government’s investigation of a large-scale

cocaine distribution organization in the Waukesha, Wisconsin area, which included the use of

wiretaps. Through these interceptions, the government learned that defendant purchased

cocaine for re-distribution from Javier Aguilera, one of the main participants in the conspiracy,

in 1 to 5 ounce quantities. During the monitoring of Aguilera’s phone in July and August 2006,

agents intercepted about thirty-three drug-related calls between the two, and the parties agreed

that defendant should be held responsible for a total of 500 grams to 2 kilograms of cocaine.

       2.     The Defendant

       Defendant came to this country with his family from Pakistan at age eleven and became

a U.S. citizen. However, despite a good childhood, he joined a gang at age fourteen, started

using alcohol and drugs, dropped out of school and worked little. By the time of sentencing in

this case, at age twenty-three, defendant had compiled a fairly significant record, with juvenile

adjudications for graffiti, criminal damage to property, drug possession, and resisting an officer;

and adult convictions for hit and run, resisting and carrying a concealed weapon, possession

of drug paraphernalia, and finally possession with intent to deliver marijuana. A state court

placed defendant on probation for the final offense in July 2006, but after his arrest in

connection with the instant offense in August 2006 state authorities revoked his probation and

the court imposed a 3 year prison sentence, which he was serving at the time I sentenced him.



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Defendant performed poorly on supervision in the community in his previous cases as well,

being revoked several times.

       However, since being taken into custody in August 2006 defendant appeared to be

moving in a more positive direction. He obtained his High School Equivalency Degree, earning

high marks from his instructors. He also completed other classes offered through M & I

Community Education in the areas of business and finance. Finally, he enrolled in adult basic

education classes through Moraine Park Technical College, and his instructor provided a letter

praising his hard work and positive attitude.

       3.     Guidelines and Purposes of Sentencing

       As noted above, the guidelines recommended 92-115 months, and the statute required

at least 60 months. Under all of the circumstances and on consideration of the arguments of

counsel, I found a sentence of 66 months, running concurrently with the balance of the state

revocation sentence, sufficient but not greater than necessary.

       In making this determination, I considered the timing and effect of defendant’s

undischarged state sentence. Defendant had been in custody since his arrest in connection

with this case in August 2006.1 As indicated above, state authorities revoked defendant’s

probation based on the instant offense conduct and imposed a 3 year prison term, and his time

in custody since his arrest would properly be credited to that state revocation sentence. See

18 U.S.C. § 3585(b) (prohibiting “double” credit on a federal sentence).         Although the

guidelines recommend a consecutive term where the defendant was on probation at the time

he committed the instant offense, see U.S.S.G. § 5G1.3 cmt. n.3(C), the court nevertheless


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       That arrest was made by state not federal authorities, but the parties agreed that the
cocaine seized at that time was relevant conduct in this case.

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possesses discretion to impose a concurrent term, see 18 U.S.C. § 3584; United States v.

Jackson, 546 F.3d 465, 469-70 (7th Cir. 2008). The Seventh Circuit has recognized that, as

was the case here, when the conduct underlying the revocation and the instant offense is the

same, “a concurrent sentence would be reasonable.” United States v. Huusko, 275 F .3d 600,

603 (7th Cir. 2001); see also Jackson, 546 F.3d at 470-72 (reversing where the sentencing

judge failed to explain why he found a consecutive sentence necessary under similar

circumstances). Under the factors set forth in 18 U.S.C. § 3553(a) and U.S.S.G. § 5G1.3 cmt.

n.3(A), I found a concurrent sentence appropriate here.2

       Defendant had already seen a 2 point increase in his criminal history score because he

was on probation in the state case, see U.S.S.G. § 4A1.1(d), and a 1 point increase because

of a jail sanction he served on that state case, see U.S.S.G. § 4A1.1(e), in addition to the 3

points he received for the state conviction itself, see U.S.S.G. §§ 4A1.1(a) & 4A1.2(k). Absent

those points, he would have fallen in criminal history category IV rather than VI, as he had just

8 points otherwise. To impose the instant sentence consecutively on top of that significant

effect on the guideline range, would have placed far too much weight on a state court

conviction involving about 448 grams of marijuana (PSR ¶ 157), an amount that barely

registers under the federal drug guideline. See U.S.S.G. § 2D1.1(c)(16).3

       Further, the state revocation sentence was determinate and set to discharge June 2009,

meaning that, due to the timing, the instant sentence imposed in December 2008 would be only




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           The government did not oppose a concurrent term.
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      The parties agreed that the state court marijuana conviction did not constitute relevant
conduct to the instant offense, such that would U.S.S.G. § 5G1.3(b) apply.

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partially concurrent.4 Thus, even a sentence near the statutory minimum constituted a

significant incremental punishment, one sufficient to satisfy the purposes of sentencing.5 Given

this timing, I also took into account the lost opportunity for a fully or nearly fully concurrent

sentence in setting the term of imprisonment for the instant offense. See, e.g., United Sates

v. Valadez, No. 07-CR-245, 2008 WL 4066092, at *3 (E.D. Wis. Aug. 27, 2008) (reducing

sentence to account for discharged state revocation sentence based on the instant offense

conduct); United States v. Montanez, No. 04-CR-239, 2007 WL 2318527, at *3 (E.D. Wis. Aug.

9, 2007) (imposing a below-guideline sentence based on “the lost opportunity for concurrent

time”); see also Jones, 233 F. Supp. 2d at 1076 (collecting pre-Booker cases permitting

departures or adjustments in order to approximate a fully concurrent sentence).

       This sentence was sufficient to satisfy the purposes of sentencing. Cocaine distribution

is a serious offense, and defendant’s involvement was not slight, however it appears to have

been of relatively short duration, and the record suggested no other aggravating circumstances,

such as violence, weapon possession or threats. It also appeared as though the motive for his

involvement was at least in part to obtain money for cocaine and/or to obtain more cocaine for

his own use. Therefore, under the specific circumstances, this sentence was sufficient to



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       A concurrent sentence generally commences on the date of its imposition, not on the
date of the commencement of the prior state sentence with which it is ordered to run
concurrent. See generally United States v. Walker, 98 F.3d 944, 945 (7th Cir. 1996).
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        The guidelines used to recommend that the district court consider “the total punishment
that would have been imposed . . . had all of the offenses been federal offenses for which
sentences were being imposed at the same time.” United States v. Jones, 233 F. Supp. 2d
1067, 1078 (E.D. Wis. 2002) (discussing pre-1995 commentary). Combining the state
marijuana offense with the instant offense would likely have resulted in the same guideline
range; in other words, the amount of marijuana involved in the state case appears to have been
too insubstantial to result in an increase in the offense level for this cocaine offense.

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provide just punishment. See 18 U.S.C. § 3553(a)(2)(A).

      The length of defendant’s record suggested a need to protect the public, but on closer

inspection most of his convictions appeared to be relatively minor and were clustered between

the ages of seventeen and twenty. Although he had been in custody since the age of twenty-

one, thus preventing him from picking up more offenses (and somewhat diminishing the

strength of his argument that category VI overstated his record), I did accept that defendant

had made strides towards turning his life around while in custody, as evidenced by the

certificates and letters he presented. I also agreed that defendant’s record did not resemble

that of most category VI offenders, who generally have more serious and/or numerous felonies

on their records. Therefore, I found this sentence sufficient to protect the public. See 18

U.S.C. § 3553(a)(2)(C).

      I also found this sentence sufficient to deter. As both sides recognized, the state courts

involved in defendant’s previous cases generally placed him on probation, which did not suffice

to deter him from future offenses. Therefore, prison was needed to send a message.

However, because defendant had never done prison time before the instant arrest and

resulting revocation sentence,6 this sentence in conjunction with the revocation term provided

a sufficient deterrent. See 18 U.S.C. § 3553(a)(2)(B); see also United States v. Qualls, 373

F. Supp. 2d 873, 877 (E.D. Wis.2005) (“Generally, a lesser period of imprisonment is required

to deter a defendant not previously subject to lengthy incarceration than is necessary to deter

a defendant who has already served serious time yet continues to re-offend.”).

      As defendant acknowledged, he had significant substance abuse treatment needs. See



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          His prior revocation sentences were county jail terms.

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18 U.S.C. § 3553(a)(2)(D). Under the circumstances, I had to address those needs initially via

recommendations to the Bureau of Prisons and later as conditions of supervised release. I

recommended that defendant participate in the Bureau’s residential drug abuse treatment

program, for which he appeared to be a good candidate given his positive adjustment during

pre-trial detention.

                                      III. CONCLUSION

       Therefore, I committed defendant to the custody of the Bureau of Prisons for 66 months

to run concurrently with the undischarged portion of the state sentence. This sentence varied

modestly from the guidelines, a little more than 3 levels. In any event, it was supported by the

specific facts and circumstances discussed herein, so it created no unwarranted disparity. See

18 U.S.C. § 3553(a)(6). Upon release, I ordered defendant to serve four years of supervised

release, with a drug aftercare and other conditions that appear in the judgment.

       Dated at Milwaukee, Wisconsin, this 12th day of December, 2008.


                                          /s Lynn Adelman
                                          ________________________________________
                                          LYNN ADELMAN
                                          District Judge




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